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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

Justin Castine and Rayan Black,           §
on behalf of themselves and               §
similarly situated others,                §
                                          §
       Plaintiffs,                        §
                                          §
v.                                        §      CASE NO. 1:18-CV-00496-RP
                                          §
Accelore Group, L.L.C. d/b/a              §
Accelore Solutions and DHL                §
Express (USA), Inc. d/b/a DHL             §
Express,                                  §
                                          §
       Defendants.                        §


         MOTION FOR NOTICE TO POTENTIAL PLAINTIFFS AND
      CONDITIONAL FLSA CERTIFICATION AND SUPPORTING BRIEF

       Plaintiffs Justin Castine and Rayan Black, on behalf of themselves and similarly

situated others, file this Motion for Notice to Potential Plaintiffs and Conditional FLSA

Certification and would respectfully show:

1.     Introduction

       Plaintiffs filed this action to recover unpaid compensation and other damages for

all current and former employees of Defendants who are or were delivery drivers or

couriers that reported to, worked at, or obtained freight or packages from the Austin DHL

location on Cargo Avenue, Austin, Texas 78719 (“DHL location”), during the Class

Period (Class Period is defined in Section 3.3). Through this motion, Plaintiffs seek to

take the first step in protecting the rights of their fellow delivery drivers or couriers by

sending them Court approved notice of this action and letting the workers decide whether

to seek unpaid wages under the Fair Labor Standards Act (“FLSA”). As set forth herein,
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Plaintiffs readily meet the lenient burden applicable at this stage, making conditional

certification and notice appropriate. 1 Through the allegations in the Complaint and

Plaintiffs’ attached declarations and pay stubs, Plaintiffs have demonstrated that

Defendants violated the FLSA with respect to themselves and other similarly situated

delivery drivers or couriers.

         Accordingly, Plaintiffs ask that the Court conditionally certify this case as a

collective action under the FLSA. Because each day that passes without notice is another

day of pay that the delivery drivers or couriers will lose forever, Plaintiffs also respectfully

request an expedited determination on this Motion.

2.       Defendants’ Uniform Compensation Policies and Practices Violate the
         FLSA.

         Plaintiffs worked for Defendants as delivery drivers or couriers. Plaintiff Castine’s

employment was from about January 26, 2017, until his unlawful termination about May

17, 2018. 2 Plaintiff Black is currently employed by Defendants and his employment began

around August 2017. 3 During calendar year 2017, Plaintiff Castine’s paychecks reflected

that he received a “salary” of $800/week and contained no reference to the number of

regular or overtime hours he actually worked. 4 Similarly, during 2017, Plaintiff Black

received a “salary” and his paychecks contained no reference to the number of regular or

overtime hours he actually worked. 5 While receiving this salary of $800/week and no

overtime pay, Plaintiff Castine worked approximately 60 hours/workweek during peak

periods, and substantial overtime hours during non-peak periods. 6 Plaintiff Black worked


1 See e.g., Rousseau v. Frederick’s Bistro, Ltd., 2010 WL 1425599, at *3 (W.D. Tex. Apr. 7, 2010).
2 Exhibit 1, Castine Declaration at ¶ 3.
3 Exhibit 2, Black Declaration at ¶ 3.
4 Exhibit 1, Castine Declaration at ¶ 13; see also attachment to Exhibit 1, 2017 pay stub.
5 Exhibt 2, Black Declaration at ¶ 13.
6 Exhibit 1, Castine Declaration at ¶ 15.



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a similar number of overtime hours and had the same general pattern of hours worked

over peak and non-peak periods. 7

         Beginning sometime in January 2018, Defendants converted Plaintiffs to hourly

employees (yet continued to pay Plaintiffs for fewer hours than Plaintiffs actually worked

in an effort to unlawfully reduce Plaintiffs’ overtime compensation). 8                      Plaintiffs

understand that other similarly-situated delivery drivers were also paid a weekly base rate

(and no overtime) before January 2018, and that they, too, were converted to hourly

workers sometime in January 2018. 9 In January 2018, Defendants started using time

clocks. 10 The flat rate salary with no overtime being paid was a consistent pay practice

before 2018 for delivery drivers or couriers at the DHL location. 11

         Separately, during Plaintiffs’ employment, Defendants’ unlawfully reduced the

number of hours actually worked by Plaintiffs, shorting their overtime pay, and Plaintiffs

understand Defendants engaged in similar conduct towards their coworkers at the DHL

location. 12 On many occasions, Plaintiffs worked through their meal breaks, delivering

packages and doing pick-ups for the Defendants. 13 Indeed, on days when the DHL

delivery plane was late, Plaintiffs would not even take lunches (or would spend less than

twenty uninterrupted minutes ordering and consuming food from a fast service

restaurant). 14 Regardless of whether Plaintiffs worked through lunch, Defendants

regularly docked Plaintiffs’ pay for an hour-long meal period. 15



7 Exhibit 2, Black Declaration at ¶ 15.
8 Exhibit 1, Castine Declaration at ¶¶ 16, 18; Exhibit 2, Black Declaration at ¶¶ 16, 18.
9 Exhibit 1, Castine Declaration at ¶ 17; Exhibit 2, Black Declaration at ¶ 17.
10 Exhibit 1, Castine Declaration at ¶ 12; Exhibit 2, Black Declaration at ¶ 12.
11 Exhibit 1, Castine Declaration at ¶¶ 14, 17; Exhibit 2, Black Declaration at ¶¶ 14, 17.
12 Exhibit 1, Castine Declaration at ¶¶ 19-20; Exhibit 2, Black Declaration at ¶¶ 19-20.
13 Exhibit 1, Castine Declaration at ¶ 19; Exhibit 2, Black Declaration at ¶ 19.
14 Id.
15 Id.



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         Defendants apply these same pay policies, practices, and procedures to all of their

delivery drivers or couriers at the DHL location. 16 Plaintiffs and similarly situated others

either did not take lunch or were not completely relieved of their duties during such

periods. 17 Breaks of 30 minutes or longer are compensable unless the employee is

“completely relieved from duty for the duration of the break.” 18 Similarly situated

delivery drivers or couriers were required to, and did, make deliveries during the alleged

meal breaks, yet, like Plaintiffs, they were not paid for such work; instead, Defendants

automatically deducted one-hour lunch periods from their hours worked. 19             These

improper deductions directly benefitted Defendants.

         Additionally, Plaintiffs and similarly situated others were told by Defendants when

to arrive each day at DHL’s facility, and thus engaged by Defendants to wait for DHL

freight airplanes to arrive for unloading. 20 But, despite the drivers’ compliance with their

arrival instructions, Accelore and DHL postponed the clock-in times of Plaintiffs and

other delivery drivers and couriers from the actual work start times to the arrival times of

the DHL planes, to avoid paying them. 21

         Management knew that these improper lunch deductions were occurring and that

the clock-in times of Plaintiffs and similarly situated others were being adjusted to match

the arrival of DHL planes, regardless of the fact that drivers were on-site and waiting to

load packages as instructed, and thus, should have been compensated for such waiting

and working time. 22 Indeed, the owner of Accelore had a brother who worked at the


16 Exhibit 1, Castine Declaration at ¶ 20; Exhibit 2, Black Declaration at ¶ 20.
17 Id.
18 29 C.F.R. § 785.19(a).
19 Exhibit 1, Castine Declaration at ¶ 20; Exhibit 2, Black Declaration at ¶ 20.
20 Exhibit 1, Castine Declaration at ¶ 22; Exhibit 2, Black Declaration at ¶ 22.
21 Id.
22 Exhibit 1, Castine Declaration at ¶ 24; Exhibit 2, Black Declaration at ¶ 24.



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company and oversaw some of the improper deductions. 23 If any supervisor knows about

the work being performed, that knowledge may be imputed to the employer. 24 Moreover,

it is clear that management has an affirmative obligation to exercise control over the work

performed (or prohibit work it does not want performed). 25 Management cannot accept

the benefit of the work without properly compensating the employees who performed the

work. 26 Thus, the Plaintiffs in this case are entitled to be compensated for this work.

           In short, pursuant to a routine policy or practice of Defendants that applied to all

delivery drivers, the Plaintiffs, and others similarly situated, worked overtime, had

improper deductions, and worked “off the clock” on a regular basis, which was for the

benefit of Defendants, and they have not been paid for such time in accordance with the

FLSA.

3.         Law and Argument

           3.1     Legal Standard for Conditional Collective Action Certification.

           The FLSA empowers Plaintiffs to maintain an action for unpaid wages on behalf of

themselves and “similarly situated employees.” 27 Before a similarly situated employee

may become a party Plaintiff to this lawsuit for purposes of his or her FLSA claims, he or

she must file a written consent with the Court. 28 This distinct “opt-in” structure heightens

the need for employees to receive “accurate and timely notice concerning the pendency of




23   Exhibit 1, Castine Declaration at ¶ 24.
24 See Brennan v. General Motors Acceptance Corp., 482 F.2d 825, 827-29 (5th Cir. 1973) (applying a broad

standard to the employer’s knowledge).
25 29 C.F.R. § 785.13.
26 Id.
27 29 U.S.C. § 216(b).
28 Id.



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the collective action . . . .” 29 The statute therefore vests district courts with “discretion . .

. to implement 29 U.S.C. § 216(b) . . . by facilitating notice to potential plaintiffs.” 30

         The majority of district courts in this Circuit and within this District use a two-

stage approach to the certification issue. 31 Under the two-stage approach, once the Court

makes the preliminary determination that potential Plaintiffs are similarly situated, the

case proceeds as a collective action throughout discovery. 32                            After conditional

certification, discovery becomes relevant regarding the merits of a case and the second

step in the collective action procedure. 33 During this second stage, the Court evaluates

discovery-developed evidence to test the validity of the decision made at the notice

stage. 34 Early notice will help this Court manage the case by enabling it to “ascertain the

contours of the action at the outset.” 35

         A.     The Standard for Notice is a “Lenient” One.

         Because the first step takes place prior to the completion of discovery, the standard

for notice “is a lenient one.” 36 Only at the second stage—occurring at the close of

discovery—does the Court make a “factual determination” as to whether the class

members are similarly situated. 37 The first stage’s lenient standard “typically results in

‘conditional certification’ of a representative class[,]” to which notice is sent. 38


29 Hoffman-La Roche Inc. v. Sperling, 493 U.S. 165, 170 (1989).
30 Id. at 169.
31 See Roussell v. Brinker Intern., Inc., 441 Fed. Appx. 222, 226 (5th Cir. 2011) (courts are using the similarly

situated standard); Burns v. Chesapeake Energy, Inc., 2017 WL 1842937, at *3 (W.D. Tex. 2017) (most
courts in the Circuit apply the two step conditional certification approach and this Court will do so here);
Page v. Crescent Directional Drilling, L.P., 2015 WL 12660425, at *1 (W.D. Tex. 2015) (the majority of the
courts in the Circuit use the two step approach).
32 Mooney v. Aramco Servs. Co., 54 F.3d 1207, 1214 (5th Cir. 1995).
33 Id.
34 Id.
35 Hoffman-La Roche, 493 U.S. at 172.
36 Mooney, 54 F.3d at 1214.
37 Id. at 1214.
38 Id.



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         B.     Plaintiffs Need Only Make Substantial Allegations Supported by
                Sworn Statements at the Notice Stage.

         At the first stage of the two-stage approach, the Court determines whether named

Plaintiffs and potential opt-ins are “similarly situated” based on allegations in the

complaint supported by sworn statements. 39

         3.2     Plaintiffs are Similarly Situated to the Putative Class.

         Plaintiffs are similarly situated to the other delivery drivers or couriers, each of

whom would report to, work at, or obtain freight or packages from the Austin DHL

location. “To establish that employees are similarly situated, a plaintiff must show that

they are ‘similarly situated’ with respect to their job requirements and with regard to their

pay provisions. The positions need not be identical, but similar.” 40 While evidence of a

single decision, policy or plan will meet the similarly situated standard, a unified policy,

plan, or scheme is not required to satisfy the more liberal “similarly situated” requirement

of the FLSA. 41 Accordingly, “[a] court may deny a Plaintiff’s right to proceed collectively

only if the action arises from circumstances purely personal to the Plaintiff, and not from

any generally applicable rule, policy, or practice.” 42 Courts consider across-the-board

decisions to treat a discrete category of employees as not eligible for overtime as sufficient

to warrant conditional certification and notice to all those performing the same or similar

work. 43




39 See, e.g., Bernal Vankar Enterps., Inc., 2008 WL 791963, at *4 (W.D. Tex. 2008) (noting that “at least

one” of the opt-in Plaintiffs submitted an affidavit supporting the allegations and that was sufficient).
40 Barnett v. Countrywide Credit Indus., Inc., 2002 WL 1023161, at *1 (internal quotation marks and

brackets omitted) (quoting Tucker v. Labor Leasing, Inc., 872 F. Supp. 941, 947 (M.D. Fla.1994)).
41 Grayson v. K Mart Corp., 79 F.3d 1086, 1095-96 (11th Cir. 1996).
42 Donohue v. Francis Sevrs., Inc., No. 04-170, 2004 WL 1161366, at *1 (E.D. La. May 24, 2004) (citations

omitted).
43 Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1264 (11th Cir. 2008) (“There is nothing unfair

about litigating a single corporate decision” in a single collective action…”).

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         In the present case, Plaintiffs’ live Complaint as well their Declarations establish

they had the primary duties of loading and unloading freight or other packages and

delivering them from a DHL location to customers. 44 The potential Plaintiffs performed

similar work duties. 45 Plaintiffs, along with similarly situated others, were paid a flat

“salary” in 2017 that did not account for all hours worked including, but not limited to,

overtime hours. 46 Plaintiffs have established that other delivery drivers or couriers were

also paid similarly. 47 Finally, Plaintiffs have established that improper deductions were

taken and that they were not compensated properly for meal periods, waiting time, and

other hours worked. 48 Others at the DHL location experienced the same issues. 49

         Thus, Plaintiffs have demonstrated that they were, along with other delivery

drivers or couriers, injured by a common policy or plan that violated the FLSA through

firsthand experiences, conversations with co-workers and management, and their

attached paystubs. Consequently, the Court should conditionally certify this case as an

FLSA collective action.

         3.3    The Potential Class Requested.

         Plaintiffs seek to represent the following FLSA collective action class, the members

of which have been harmed by Defendants’ unlawful pay practices:

         All current and former employees of Defendants who are or were delivery
         drivers or couriers that reported to, worked at, or obtained freight or
         packages from the Austin DHL location on Cargo Avenue, Austin, Texas
         78719, during the Class Period.



44 Exhibit 1, Castine Declaration at ¶ 6; Exhibit 2, Black Declaration at ¶ 6.
45 Id.
46 Exhibit 1, Castine Declaration at ¶¶ 13-14; Exhibit 2, Black Declaration at ¶¶ 13-14.
47 Exhibit 1, Castine Declaration at ¶¶ 14, 17, 20, 22, and 27; Exhibit 2, Black Declaration at ¶¶ 14, 17, 20,

22, and 27.
48 Exhibit 1, Castine Declaration at ¶¶ 18-20; Exhibit 2, Black Declaration at ¶¶ 18-20.
49 Id.



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The Class Period is three years prior to the Court’s order granting conditional

certification.

4.       Court-Authorized Notice is Appropriate Here.

         In combination with an order conditionally certifying this collective action,

Plaintiffs also request that the Court authorize that notices be disseminated to all

individuals who worked at the DHL location as delivery drivers or couriers at any time

during the three years prior to the Court’s order granting conditional certification.

Plaintiffs seek permission to send the notices through email and text message in addition

to regular mail. Plaintiffs’ proposed notices and opt-in methods are in line with the

FLSA’s remedial purpose.

         4.1.    Plaintiffs’ Proposed Notices.

         Attached as Exhibits 3 and 4 are Plaintiffs’ proposed Judicial Notices. Plaintiffs’

proposed notices have been carefully drafted to achieve “the goals of the notice: to make

as many potential plaintiffs as possible aware of this action and their right to opt in

without devolving into a fishing expedition or imposing undue burdens on the

defendants.” 50

         4.2.    Email and Text Message Notice are Appropriate.

         The Supreme Court has held that “District Courts have discretion, in appropriate

cases, to implement 29 U.S.C. § 216(b) . . . by facilitating notice to potential plaintiffs.” 51

In an effort to avoid a “multiplicity of suits,” district courts are empowered to oversee

notice that is “timely, accurate, and informative.” 52 District courts are instructed to

authorize notice that is “orderly, sensible, and not otherwise contrary to statutory


50 Elmajdoub v. MDO Dev. Corp., No. 12-cv-5239, 2013 WL 6620685, at *4 (S.D.N.Y. Dec. 11, 2013).
51 Hoffman-LaRoche, 493 U.S. at 169.
52 Id. at 172.



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commands.” 53 In 1989, when the Supreme Court made this decision, there is little doubt

that notice via first class mail was the best way to provide notice in “an efficient and proper

way.” 54 But the Supreme Court was intentionally vague in defining the manner and form

of the notice to be sent. “We confirm the existence of the trial court’s discretion, not the

details of its exercise.” 55

          This Court should exercise that discretion to approve notice via email and text

message. Allowing such notice will facilitate and not complicate the notice process. 56

Plaintiffs’ proposed email is attached as Exhibit 3. Text message notice is also “eminently

reasonable,” because “[t]his has become a much more mobile society with one’s email

address and cell phone number serving as the most consistent and reliable method of

communication.” 57

          Text message notice is particularly appropriate here, because Plaintiffs and the

putative class members were regularly dispatched away from the DHL location during

work, and therefore had occasion to use their cell phones to communicate with both

customers and Defendants. Indeed, Defendants’ main method of communication with

Plaintiffs and other delivery drivers or couriers on when to arrive for work were group

text messages. 58 As Plaintiffs have confirmed, texts are usually the best way to reach the



53 Id. at 170.
54 Id. at 171.
55 Id. at 170 (emphasis added).
56 Beall v. Tyler Techs., Inc., 2009 WL 3064689, at *4 (E.D. Tex. 2009) (Ward, J.) (court granted class

notice via email and later compelled the employer to produce all email addresses); Burns, 2017 WL
1842937, at *9 (“Nor is there a valid reason why the parties should not agree to e-mail notice in the year
2017.); Page, 2015 WL 12660425 at *3 (“[e]mail is not the wave of the future; [it] is the wave of the last
decade and a half,” and it is particularly important here) (quoting Rodriguez v. Stage 3 Separation, LLC,
5:14-CV-603-RP, at 2 n.1 (W.D. Tex. Mar. 16, 2015)).
57 Irvine v. Destination Wild Dunes Mgmt., Inc., 132 F. Supp. 3d 707, 711 (D.S.C. Sept. 14, 2015); see also

Dempsey v. Jason’s Premier Pump Servs., LLC, No. 1:15-cv-703, 2015 WL 13121134, at *2 (D. Colo. Nov.
11, 2015) (granting notice via text message).
58 Exhibit 1, Castine Declaration at ¶ 26, Exhibit 2, Black Declaration at ¶ 26.



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delivery drivers or couriers given they travel frequently for work. 59 Plaintiffs request that

the following text message notices be approved:

           NOTICE AUTHORIZED BY THE UNITED STATES DISTRICT COURT:
           You are receiving this notice because company records show that you
           reported to, worked at, or obtained freight or packages from the Austin DHL
           location on Cargo Avenue, Austin, Texas, and may have the opportunity to
           join a lawsuit for unpaid wages. Please contact the Mullen Firm at 512-537-
           7959 or the Hansum Law Firm at 512-481-9292 for more information.

                 4.3.   Permitting Three Forms of Notice Achieves the Purposes
                        of Hoffman-LaRoche.

           Allowing notice via all three proposed methods of notice—regular mail, email, and

text message—keeps pace with the ways in which our manner and modes of

communication have changed since Hoffman-LaRoche was decided in 1989. As one

example, when this Court issues an Order on the present motion, counsel for the parties

will be notified about it via email, not regular mail. Regular mail may not arrive at its

destination because it may be misdelivered, misplaced, taken from shared mailboxes, left

unopened, and/or sent to an inaccurate mailing address. Even if the notice does reach its

destination, there is no guarantee that it will be reviewed, i.e., that the putative class

member will receive notice of the lawsuit. Information is coming at individuals from all

angles at all times, and there is simply no way to digest it all. A notice that actually arrives

in a putative class member’s mailbox—intermixed with dozens of solicitations for credit

cards, cable companies, and insurance rates, to name a few—will still very possibly be left

unopened.

           In fact, many conniving solicitors now intentionally make their letters look like

legitimate legal notices to trick recipients into taking action in response. The realities of



59   Id.

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modern society make it less likely that putative class members will actually review notices

that arrive in their mailbox. These solicitations have unfortunately infiltrated email

inboxes, making text message notice also appropriate. Putative class members are far less

likely to receive this level of solicitation from unfamiliar sources in their text message

inbox, in part because of the Telephone Consumer Sales Protection Act, 47 U.S.C. § 227,

et seq. (prohibiting certain solicitations via text message, auto-dial phone calls, and

faxes).

          Class members are often concerned that a lawsuit notice is a “scam” or otherwise

not legitimate. The combination of notices helps alleviate this concern and ensure that

class members afford the notice the attention it deserves. Providing these three forms of

direct notice is necessary to achieve the purposes of Hoffman-LaRoche. Email and text

message notice carry little cost, and provide for a greater chance that each putative class

member is actually notified of the action, which is the goal at this stage of the proceeding.

As a result, the Court should allow notice to be sent via mail, email, and text message to

putative class members.

                 4.4.   A 90-day Opt-in Period is Appropriate.

          Once notice is sent, Plaintiffs request that potential members of the collective

action be granted 90 days in which to return an opt-in form. 60

                 4.5.   Expedited Disclosure of Names and Contact Information
                        is Appropriate.

          Plaintiffs request that the Court direct Defendants to produce with seven (7) days

an electronic list of the names, last known addresses, telephone numbers, e-mail




60See Gandhi v. Dell, Inc. & Dell Mktg. USA, L.P., 2009 WL 3427218, at *2 (W.D. Tex. Oct. 20, 2009)
(approving 90 day opt-in period).

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addresses, dates of employment, and job titles for all current of former delivery drivers or

couriers who reported to, worked at, or obtained freight or packages from the Austin DHL

location on Cargo Avenue, Austin, Texas 78719, during the three years prior to the Court’s

Order granting conditional certification. 61

          Plaintiffs should also be permitted to take reasonable steps to ensure the class

members receive the notice. Those steps can include updating addresses and calling class

members to request updated addresses if a message or mail is returned undeliverable.

5.        Conclusion

          For the foregoing reasons, Plaintiffs requests the Court (1) conditionally certify this

lawsuit as an FLSA collective action as previously defined; (2) approve the Plaintiffs’

proposed notices of the action; (3) order Defendants to provide name, contact

information, dates of employment, and job titles for all potential class members; (4)

authorize Plaintiffs to send the notices via first class mail, email, and text message; and

(5) allow putative class members 90 days to opt-in to the action. A proposed order is

attached as Exhibit 5.




61 Rousseau, 2010 WL 1425599, at *3 (ordering the production of names and addresses of former

employees); Beall, 2009 WL 1766141, at *4 ("The Court also orders defendants to provide the plaintiffs'
counsel with the names, job titles, addresses, telephone numbers, Social Security numbers, and email
addresses, where available, of the potential class members.").

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                                           Respectfully submitted,


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                                           ATTORNEY FOR PLAINTIFFS




                               CERTIFICATE OF SERVICE

          I hereby certify that a copy of this Motion will be served upon Defendants at the

same time as the service of summons and the Original Complaint.



                                           /s/ Kevin S. Mullen
                                           Kevin S. Mullen




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